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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Criminal No. 19-276 (DSD/TNL)

 UNITED STATES OF AMERICA,                   )
                                             )
                     Plaintiff,              )
                                             ) NOTICE OF INTENT TO CALL
              v.                             ) WITNESS AT SENTENCING
                                             ) HEARING
 VICTOR MANUEL QUIJADA,                      )
                                             )
                     Defendant.              )

      COMES NOW the United States of America, by and through its undersigned

attorneys, Erica H. MacDonald, United States Attorney for the District of Minnesota, and

Thomas M. Hollenhorst, Assistant United States Attorney, and hereby gives notice of its

intent to call Special Agent Andrew Mento (FBI) at the sentencing hearing scheduled in

this matter for September 23, 2020, at 1:30 p.m. The testimony of this witness is expected

to last approximately 30 minutes.

Dated: September 17, 2020                Respectfully submitted,

                                         ERICA H. MacDONALD
                                         United States Attorney
                                         s/Thomas M. Hollenhorst
                                         BY: THOMAS M. HOLLENHORST
                                         Assistant United States Attorney
                                         Attorney ID No. 46322
